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                         UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
                                 (MIAMI, DIVISION)

In re:                                    :                          CASE NO.: 24-18942-RAM
                                          :
RANEE A. BARTOLACCI,                      :                          CHAPTER 7
                                          :
      Debtor.                             :
__________________________________________/

    AGREED EX PARTE MOTION TO EXTEND THE DEADLINES FOR FILING
   OBJECTIONS TO CLAIMED EXEMPTIONS AND OBJECTING TO DISCHARGE

         The undersigned counsel to Trustee, Robert A. Angueira, moves this Court for the entry

of an Agreed Order extending the deadlines for filing objections to the Debtor’s claimed

exemptions and objecting to discharge, in this case and in support there of states:

    1. This is a voluntary Chapter 7 case which was commenced by the Debtor on August 30,

2024. Robert A. Angueira was appointed to serve as Chapter 7 Trustee on September 5, 2024

[D.E. #6].

    2. The §341 Meeting of Creditors in connection with this case was held and concluded on

October 10, 2024 (the “§341 Meeting of Creditors”).

    3. The Trustee requires additional time in which to investigate the financial dealings of the

Debtor, the current market of claimed exemptions and other responsibilities of the Trustee

pursuant to 11 U.S.C. § 704.

    4. The current deadline for filing objections to claimed exemptions in connection with this

case is April 8, 2025. The Trustee requests a 30-day extension of this deadline to May 8, 2025.

    5. The current deadline for filing objections to the Debtor’s discharge in connection with

this case is April 8, 2025. The Trustee requests a 30-day extension of this deadline to April 8,

2025.
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   6. The undersigned received confirmation from Debtor’s counsel Luis Salazar, Esq. at the

on March 31, 2025, that they had no objections to a 30-day extension of the deadlines to object

to claim exemptions and to object to the Debtor’s discharge.

   7. F.R.B.P 9006(b) provides that the Court may, for cause shown, before expiration of the

time originally prescribed or as extended, enter an order enlarging time. For the above reasons,

good cause has been demonstrated.

       WHEREFORE, Robert A. Angueira, Trustee, moves this Court for the entry of an

Agreed Order extending the deadline for filing objections to the Debtor’s claimed exemptions to

May 8, 2025, and extending the deadline for filing objections to the Debtor’s discharge to May 8,

2025, together with any other relief the Court deems appropriate under the facts.

       Dated: April 1, 2025

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                                             By /s/ Yanay Galban, Esq.
                                                YANAY GALBAN
                                                Florida Bar No. 105146




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                                 CERTIFICATE OF SERVICE

       I CERTIFY that a true and correct copy of the foregoing was served by U.S. mail on this

1st day of April, 2025, to the Debtor.

       I CERTIFY that a true and correct copy of the foregoing was served via the Notice of

Electronic Filing on this 1st day of April, 2025, to:

   •   Robert A Angueira       trustee@rabankruptcy.com,
       fl79@ecfcbis.com;raa@trustesolutions.net;tassistant@rabankruptcy.com;richard@rabank
       ruptcy.com;lillian@rabankruptcy.com
   •   Nestor C Bustamante       nbustamante@cozen.com, nestor-bustamante-
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